        Case 1:22-cv-02942-ELR Document 14 Filed 08/04/22 Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TRAVIS MOYA,                                       )
                                                   )
              Plaintiffs,                          ) CIVIL ACTION FILE NO.
                                                   ) 1:22-cv-02942
v.                                                 )
                                                   )
CITY OF ALPHARETTA, ALPHARETTA                     )
POLICE CHIEF JOHN ROBISON,                         )
ALPHARETTA POLICE LIEUTENANT R.A.                  )
SPLAWN, ALPHARETTA POLICE OFFICER                  )
MICHAEL ESPOSTIO, ALPHARETTA                       )
POLICE OFFICER J.J. FRUDDEN,                       )
ALPHARETTA POLICE OFFICER                          )
CHRISTOPHER BENFIELD                               )
                                                   )
              Defendants                           )

          NOTICE OF ENTRY OF APPEARANCE OF COUNSEL

      COMES NOW Madeleine Simmons, pursuant to Local Rule 83.1D(1), NDGa,

and hereby enters her appearance as counsel for Plaintiff Travis Moya in the above-

captioned action. All future communications, notices, orders, and pleadings should

include the undersigned counsel.

      Respectfully submitted, this 4th day of August, 2022.

                                      /s/ Madeleine Simmons
                                      Madeleine Simmons
                                      Georgia Bar No. 822807


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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TRAVIS MOYA,                                       )
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              Plaintiffs,                          ) CIVIL ACTION FILE NO.
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v.                                                 )
                                                   )
CITY OF ALPHARETTA, ALPHARETTA                     )
POLICE CHIEF JOHN ROBISON,                         )
ALPHARETTA POLICE LIEUTENANT R.A.                  )
SPLAWN, ALPHARETTA POLICE OFFICER                  )
MICHAEL ESPOSTIO, ALPHARETTA                       )
POLICE OFFICER J.J. FRUDDEN,                       )
ALPHARETTA POLICE OFFICER                          )
CHRISTOPHER BENFIELD                               )
                                                   )
              Defendants                           )

                            CERTIFICATION OF FONT

      Counsel for Plaintiff Travis Moya certifies that this NOTICE   OF   ENTRY   OF

APPEARANCE OF COUNSEL has been prepared with Times New Roman font, 14 point,

and therefore it complies with the requirements of L.R. 5.1, NDGa.

      Respectfully submitted, this 4th day of August, 2022.
                                     /s/ Madeleine Simmons
                                     Madeleine Simmons
                                     Georgia Bar No. 822807




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TRAVIS MOYA,                                        )
                                                    )
              Plaintiffs,                           ) CIVIL ACTION FILE NO.
                                                    ) 1:22-cv-02942
v.                                                  )
                                                    )
CITY OF ALPHARETTA, ALPHARETTA                      )
POLICE CHIEF JOHN ROBISON,                          )
ALPHARETTA POLICE LIEUTENANT R.A.                   )
SPLAWN, ALPHARETTA POLICE OFFICER                   )
MICHAEL ESPOSTIO, ALPHARETTA                        )
POLICE OFFICER J.J. FRUDDEN,                        )
ALPHARETTA POLICE OFFICER                           )
CHRISTOPHER BENFIELD                                )
                                                    )
              Defendants                            )

                            CERTIFICATE OF SERVICE

      I hereby certify that on August 4, 2022, I served a true and correct copy of the

foregoing NOTICE OF ENTRY OF APPEARANCE OF COUNSEL with the Clerk of Court

using the CM/ECF system, which will automatically send notification to all counsel

of record.

      Respectfully submitted, this 4th day of August, 2022.




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        Case 1:22-cv-02942-ELR Document 14 Filed 08/04/22 Page 6 of 6




/s/ Madeleine Simmons
Madeleine Simmons
Georgia Bar No. 822807


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